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                 1    INDEX OF EXHIBITS TO LVMPD DEFENDANTS' MOTION FOR SUMMARY
                                               JUDGMENT
                2

                3     Exhibit                                     Descri tion
                     A          Incident Chronolo created b LVMPD of the sub'ect event
                4    B          De osition of witness LVMPD Officer Ashle Lif
                     C          Defendant Kenneth Lo era's bod worn camera video
                 5   D          Citizen witness Jonathan Pierce's de osition
                     E          Venetian securit video and mer ed LVMPD video
                6    F          De osition of Defendant Travis Crumrine
                     G          De osition of Defendant Michael Tran
                7    H          De osition of Defendant Michael Flores
                     I          De osition of Plaintiffs' olice ractices ex ert Scott DeFoe
                8    J          De osition ofLVMPD investi atin officer Det. Trevor Alsu
                9    K          Detective Trevor Alsu 's arrest re ort
                     L          De osition of LVMPD critical incident review team leader Kase Kirke and
                10   M          De osition ofLVMPD Assistant Sheriff Tim Kell
                     N          Ex ert re ort of LVMPD defendants' olice ractice ex ert Jack R an
~               11   O          Ex ert re ort of Plaintiffs' olice ractices' ex ert Scott DeFoe
z                    P          De osition of LVMPD Defendants' olice ractices ex ert Jack R an
w         ~ 12                  De osition of LVMPD Defendants' olice ractices ex ert Sonn L nch
          R                     LVMPD's CALLEA certification
O    °°                         LVMPD's use offorce olic in effect on the date ofthe sub'ect incident
V   ~~ 13 S
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~ o>~ 16                   Dated this~day of January, 2019.
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O+                                                             MARQUIS AURBACH COFFING
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                                                                  Crumrine, Ofc. Tran and Ofc. Flores
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